Case 3:23-cr-00149-MEM Document 58 Filed 01/02/24 Page 1 of 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
CRIMINAL NO. 3:23-CR-149

Y. (MANNION, J.)
(MEHALCHICK, M.J.)

Nicholas Dombek,

Defendant

PLEA
NOW, this 2nd day of January 2024, the within named Defendant Nicholas
Dombek having been arraigned in open Court, hereby pleads NOT GUILTY to within

Indictment.

ghee Lorb

DEFENDANT

